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 9
10
                                         IN THE UNITED STATES DISTRICT COURT
11
                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
13
      ALAMEDA COUNTY WOMEN PRISONERS
                                                                                            No. 3:18-cv-00050-JD
14    And Former Prisoners & Pregnant Prisoners,
      JACLYN MOHRBACHER, ERIN ELLIS,
15    DOMINIQUE JACKSON, CHRISTINA
      ZEPEDA, ALEXIS WAH, AND JAMIE
16
      JOHNSTON, KELSEY ERWIN, DENISE
17    ROHRBACH, SHANI JONES, ANDRANIA
      YANCY, DAWN DEDRICK, JAMILA                                              THIRD AMENDED COMPLAINT for
18    LONGMIRE, SANDRA GRIFFIN, NATALIE
      GARRIDO, JAZMINE TATE, MONICA                                           INJUNCTIVE RELIEF AND DAMAGES
19
      NUNES, ANDANNA IBE, MARCAYSHA                                             FOR VIOLATION OF CIVIL RIGHTS
20    ALEXANDER, DIAMOND COOPER, MARY
      MAPA, ROSE PEREZ, MARTINA GOMEZ,                                                      and OTHER WRONGS
21    TIKISHA UPSHAW, ANNETTE KOZLOWSKI
22    And JANE DOEs Nos. 1-- X, on behalf of
      themselves and others similarly situated, as a
23    Class, and Subclass
24                                  PLAINTIFFS,
                                                                                       JURY TRIAL DEMANDED
25                     vs.
      ALAMEDA COUNTY SHERIFF’S OFFICE,
26    GREGORY J. AHERN, BRETT M. KETELES,
27    TOM MADIGAN, T. POPE, T. RUSSELL, D.
      SKOLDQVIST, LT. HATTAWAY, SGT.
28    CALAGARI, DEPUTY DIVINE (#512),

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      DEPUTY DEBRA FARMANIAN, DEPUTY
 1
      WEATHERBEE (#238), DEPUTY TANIA
 2    POPE, DEPUTY WINSTEAD, DEPUTY
      CAINE, ALAMEDA COUNTY and John & Jane
 3    DOEs, Nos. 1 - 50.
 4                          and,
      The CALIFORNIA FORENSIC MEDICAL
 5    GROUP, a corporation; its Employees and Sub-
      Contractors, and Rick & Ruth ROEs Nos. 1-50,
 6                          and,
 7    ARAMARK CORRECTIONAL SERVICES,
      LLC, a Delaware Limited Liability Company; its
 8    Employees and Sub-Contractors, and Rick and
      Ruth ROES Nos. 51-100.
 9
10
                                    DEFENDANTS.
11
12
13
                Plaintiffs JACLYN MOHRBACHER, ERIN ELLIS, and DOMINIQUE JACKSON, now
14
15    joined by others named within, on behalf of themselves and those they speak for and seek to

16    represent herein---along with those others now named and to be named individually as plaintiffs---
17
      for themselves and others, pursuant to the Court’s discussion with Counsel at the status call on
18
      January 8, 2018, and as of right per R.15(a) F.R.Civ P, now submit this amended version (TAC) of
19
      their previously filed Complaint, as follows. The allegations in the complaint are based on the
20
21    knowledge of the Plaintiffs as to themselves and as to conditions and acts which they have
22    personally observed, and on information and belief, including the investigation of counsel, as to all
23
      other matters.
24
                                                   PRELIMINARY STATEMENT
25
                 1.      This is a civil rights action in which the Plaintiffs, on behalf of themselves and a class
26
27    of similarly situated individuals, seek relief for Defendants’ violations of Plaintiffs’ rights and

28

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      privileges secured by the First, Fourth, Eighth and Fourteenth Amendments of the United States
 1
 2    Constitution.

 3              2.       Defendants CALIFORNIA FORENSIC MEDICAL GROUP and the ALAMEDA
 4
      COUNTY SHERIFF’S OFFICE have implemented and enforced, and without the Court’s
 5
      intervention will continue to implement and enforce, a policy, practice, and/or custom of denying
 6
 7    women prisoners at Santa Rita Jail necessary and appropriate medical care, in violation of the Eighth

 8    Amendment and State standards.
 9              3.       Defendants ARAMARK CORRECTIONAL SERVICES, LLC and the ALAMEDA
10
      COUNTY SHERIFF’S OFFICE have implemented and enforced, and without the Court’s
11
      intervention will continue to implement and enforce, a policy, practice, and/or custom of denying
12
13    women prisoners at Santa Rita Jail food that is adequate to maintain health, in violation of the Eighth

14    Amendment and State standards.
15               4.      Without the Court’s intervention, the Defendants in this action will continue to deny
16
      women prisoners at Santa Rita Jail necessary and appropriate medical care and food that is adequate
17
      to maintain health, in violation of the Eighth Amendment and State standards.
18
19               5.      Without the Court’s intervention, the Defendants in this action will continue to violate

20    all women prisoners at Santa Rita Jail First Amendment right to file grievances concerning the
21
      illegal and unconstitutional policies, practices and customs that are continually perpetrated by
22
      Defendants at the SRJ.
23
24               6.      Without the Court’s intervention, the Defendants in this action will continue to violate

25    each individual’s Fourth and Eighth Amendment rights to be free from unlawful searches by
26    continuing to use strip and body cavity searches conducted outside of prisoners’ cells as a means to
27
28

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      punish inmates for filing grievances and as reprisals and punishments for other acts real or imagined,
 1
 2    with no valid penological purpose.

 3              7.       This action seeks to end the barbaric conditions at SRJ regarding medical care and
 4
      food. These practices result in almost universal and inevitable miscarriages suffered by women who
 5
      enter SRJ while pregnant. These practices include coercion by ACSO and CFMG staff to force
 6
 7    inmates to have abortions. These practices include the denial of materials necessary for personal

 8    hygiene with regard to inmates’ menstrual cycle and reproductive systems. The practices
 9    complained of herein are cruel and inhumane and violate the most minimal standards of decency of
10
      a civilized society.
11
                8.       Plaintiffs bring this action for injunctive relief, and for monetary damages,
12
13    individually and on behalf of all others similarly situated who have been and will be incarcerated at

14    Santa Rita Jail, and to redress all Defendants’ violations of their rights under the First, Fourth,
15    Eighth and Fourteenth Amendments of the United States Constitution.
16
                                                              JURISDICTION
17
                9.       This action is brought pursuant to the First, Fourth, Fifth, Eighth, Thirteenth and
18
19    Fourteenth Amendments to the United State Constitution, by way of the Civil Rights Acts, 42

20    U.S.C. §§1981, 1983 et seq. and 1988.
21              10.      Jurisdiction is conferred upon this Court by 28 U.S.C. §1331 (claims arising under the
22
      United States Constitution) and §1343 (claims brought to address deprivations, under color of state
23
      authority, of rights privileges, and immunities secured by the United States Constitution), and, by
24
25    pendent jurisdiction, Secs. 52.1, and 50, of the California Civil Code and the aforementioned

26    statutory and constitutional provisions.
27
                 11. Plaintiffs further invoke this Court's supplemental jurisdiction, pursuant to 28 U.S.C. §
28
      1367, over any and all state law claims and causes of action which derive from the same nucleus of
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      operative facts and are part of the same case or controversy that gives rise to the federally based
 1
 2    claims and causes of action.

 3                                    VENUE AND INTRADISTRICT ASSIGNMENT
 4              12.      The claims alleged herein arose in the County of Alameda, State of California.
 5
      Therefore, venue and assignment, under 28 U.S.C. § 1391(b), lies in the United States District Court
 6
      for the Northern District of California, San Francisco Division or Oakland Division.
 7
 8                                                            JURY DEMAND

 9               13. Plaintiffs respectfully demand a trial by jury of all issues in this matter pursuant to
10    Fed. R. Civ. P. 38(b).
11
                                                                   PARTIES
12
                                                                PLAINTIFFS
13
14              14.      Plaintiffs are all former and current prisoners incarcerated at the Santa Rita Jail. All

15    Plaintiffs seek to represent a class of women imprisoned at the Santa Rita Jail at any time since
16    January 4, 2016, two years prior to the date of filing of the Original Complaint in this action.
17
                15.      Plaintiffs MARCAYSHA ALEXANDER, ANDANNA IBE, ANDRANIA YANCY,
18
      SANDRA GRIFFIN, DIAMOND COOPER, MARY MAPA, ROSE PEREZ, TIKISHA UPSHAW,
19
20    ANNETTE KOZLOWSKI , DENISE ROHRBACH are currently incarcerated prisoners in Santa

21    Rita Jail.
22
                16.      Plaintiffs ALEXIS WAH, KELSEY ERWIN, SHANI JONES, DAWN DEDRICK,
23
      JAMILA LONGMIRE, NATALIE GARRIDO, JAZMINE TATE, MONICA NUNES, MARTINA
24
      GOMEZ, ERIN ELLIS, DOMINIQUE JACKSON, are women who were formerly imprisoned at
25
26    Santa Rita jail.

27              17.      JACLYN MOHRBACHER and CHRISTINA ZEPEDA are formerly pregnant
28
      prisoners who suffered a miscarriage due to the mistreatment received at the hands of defendants,

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      while under the custody and control of the Alameda County Sheriff’s Office. Plaintiffs
 1
 2    MOHRBACHER and ZEPEDA seek to represent a Subclass of pregnant Santa Rita Jail prisoners.

 3              18.      Plaintiff JAIME JOHNSTON is a pregnant prisoner under the custody and control of
 4
      the Alameda County Sheriff’s office. Plaintiff JAIME JOHNSTON wishes to carry her pregnancy
 5
      to term and to deliver and have a healthy baby, and accordingly wants and demands no less than the
 6
 7    minimum necessary nutrition, medical and other support which that requires and to which they are

 8    entitled by the U.S. Constitution. Along with Plaintiffs MOHRBACHER and ZEPEDA, Plaintiffs
 9    ELLIS, JACKSON, and JOHNSTON also seek to represent a Subclass of pregnant Santa Rita Jail
10
      prisoners.
11
                                                               DEFENDANTS
12
13                                                   Alameda County Defendants
14
                19.      Defendant ALAMEDA COUNTY SHERIFF’S OFFICE (“ACSO”) is a “public
15
      entity” within the definition of Cal. Govt. Code § 811.2.
16
17               20. Defendant GREGORY J. AHERN is, and at all times relevant to this Complaint was,

18    the Sheriff of Alameda County. As Sheriff of Alameda County, Defendant Ahern has at times
19    relevant to this Complaint held a command and policy making position with regard to County Jails,
20
      including Santa Rita Jail. Defendant Sheriff AHERN has caused, created, authorized, condoned,
21
      ratified, approved or knowingly acquiesced in the illegal, unconstitutional, and inhumane conditions,
22
23    actions, policies, customs and practices that prevail at Santa Rita Jail, as described fully below.

24    Sherriff AHERN has, wholly or in part, directly and proximately caused and, in the absence of the
25
      injunctive relief which Plaintiffs seek in this Complaint, will continue in the future to proximately
26
      cause, the injuries and violations of rights set forth fully below. Defendant Sheriff AHERN is sued
27
      in his official capacity only.
28

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                21.      Defendant BRETT M. KETELES is, and at all times relevant to this Complaint was,
 1
 2    the Assistant Sheriff of Alameda County in charge of the Detentions and Corrections Unit (“DCU”),

 3    which includes the Santa Rita Jail. As Assistant Sheriff of Alameda County in charge of DCU,
 4
      Defendant KETELES has at times relevant to this Complaint held a command and policy making
 5
      position with regard to County Jails, including Santa Rita Jail. Defendant Assistant Sheriff
 6
 7    KETELES has caused, created, authorized, condoned, ratified, approved or knowingly acquiesced in

 8    the illegal, unconstitutional, and inhumane conditions, actions, policies, customs and practices that
 9    prevail at Santa Rita Jail, as described fully below. Assistant Sheriff KETELES has, wholly or in
10
      part, directly and proximately caused and, in the absence of the injunctive relief which Plaintiffs
11
      seek in this Complaint, will continue in the future to proximately cause, the injuries and violations of
12
13    rights set forth fully below. Assistant Sheriff KETELES is sued in his official capacity only.

14              22.      Defendant TOM MADIGAN is, and at all times relevant to this Complaint was, the
15    Commander in Charge of DCU, which includes the Santa Rita Jail. As the Commander in Charge of
16
      DCU, Defendant MADIGAN has at times relevant to this Complaint held a command and policy
17
      making position with regard to County Jails, including Santa Rita Jail. Defendant MADIGAN has
18
19    caused, created, authorized, condoned, ratified, approved or knowingly acquiesced in the illegal,

20    unconstitutional, and inhumane conditions, actions, policies, customs and practices that prevail at
21
      Santa Rita Jail, as described fully below. Defendant MADIGAN has, wholly or in part, directly and
22
      proximately caused and, in the absence of the injunctive relief which Plaintiffs seek in this
23
24    Complaint, will continue in the future to proximately cause, the injuries and violations of rights set

25    forth fully below. Defendant MADIGAN is sued in his official capacity only.
26              23.      Defendant T. RUSSELL is, and at all times relevant to this Complaint was, the
27
      Detention and Corrections Commander of ACSO. As the Detention and Corrections Commander of
28

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      ACSO, Defendant RUSSELL has at times relevant to this Complaint held a command and policy
 1
 2    making position with regard to County Jails, including Santa Rita Jail. Defendant RUSSELL has

 3    caused, created, authorized, condoned, ratified, approved or knowingly acquiesced in the illegal,
 4
      unconstitutional, and inhumane conditions, actions, policies, customs and practices that prevail at
 5
      Santa Rita Jail, as described fully below. Defendant RUSSELL has, wholly or in part, directly and
 6
 7    proximately caused and, in the absence of the injunctive relief which Plaintiffs seek in this

 8    Complaint, will continue in the future to proximately cause, the injuries and violations of rights set
 9    forth fully below. Defendant RUSSELL is sued in his official capacity only.
10
                24.       Defendant D. SKOLDQVIST is, and at all times relevant to this Complaint was, the
11
      Watch Commander for Santa Rita Jail. Defendants T. RUSSELL, LT. HATTAWAY, and SGT.
12
13    CALIGARI are, and at all times relevant to this Complaint were responsible officers for Santa Rita

14    Jail. At all times relevant to this Complaint, Defendants SKOLDQVIST, RUSSELL, HATTAWAY,
15    and CALIGARI were employees of the Sheriff who held supervisory, command and/or policy-
16
      making positions, and who participated in the authorization, planning, supervision, and execution of
17
      the conduct complained of herein. Defendants SKOLDQVIST, RUSSELL, HATTAWAY, and
18
19    CALIGARI are sued in their official capacities only.

20              25.      Defendants Deputies DIVINE, FARMANIAN, CAINE, POPE, DEPUTY ‘A’, and
21
      DEPUTY “S”, were guards and deputies on duty at Santa Rita Jail with direct control over plaintiffs
22
      and class members. Defendants DIVINE, FARMANIAN, CAINE, POPE, DEPUTY ‘A’, and
23
24    DEPUTY “S” are sued in their official capacities only.

25              26.      Each and every Defendant named herein was at all times relevant to this Complaint an
26    officer or employee of the Alameda County Sheriff’s Office, acting under the color of law within the
27
28

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      meaning of 42 U.S.C. § 1983, and acting pursuant to the authority of ASCO and within the scope of
 1
 2    their employment with ASCO.

 3
 4
                                                 The Private Contractor Defendants
 5
                27.      Defendant CALIFORNIA FORENSIC MEDICAL GROUP (“CFMG”) is an active,
 6
 7    domestic, for-profit corporation incorporated in the State of California with its principal place of

 8    business in San Diego, California. Defendant CFMG contracts with ASCO to provide general
 9    medical, dental, prenatal and opioid treatment services at Santa Rita Jail. Defendants RICK and
10
      RUTH ROEs 1-50 are CFMG employees who work at Santa Rita Jail. At all times relevant to this
11
      Complaint, Defendants CFMG and RICK and RUTH ROEs 1-50 were agents of the Alameda
12
13    County Sheriff’s Office, acting under the color of law within the meaning of 42 U.S.C. § 1983, and

14    acting pursuant to the authority of ASCO and within the scope of their agency with ASCO.
15               28. Defendant ARAMARK CORRECTIONAL SERVICES LLC (“ARAMARK”) is an
16
      active, foreign, for-profit Limited Liability Company registered in the State of Delaware and
17
      licensed to do business in the State of California. Defendant ARAMARK contracts with ASCO to
18
19    operate the kitchens at Santa Rita Jail for the purpose of feeding Santa Rita prisoners, and for the

20    purpose of preparing food to feed prisoners at other Alameda County jails. Defendants RICK and
21
      RUTH ROEs 51-100 are ARAMARK employees who work at Santa Rita Jail. At all times relevant
22
      to this Complaint, Defendants ARAMARK and RICK and RUTH ROEs 51-100 were agents of the
23
24    Alameda County Sheriff’s Office, acting under the color of law within the meaning of 42 U.S.C. §

25    1983, and acting pursuant to the authority of ASCO and within the scope of their agency with
26    ASCO.
27
28

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                                                        CLASS ALLEGATIONS
 1
 2               29. Pursuant to Rules 23(a), (b2) and (b)(3) of the Federal Rules of Civil Procedure, the

 3    named Plaintiffs seek to represent a Plaintiff class consisting of all women incarcerated at Santa Rita
 4    Jail (“SRJ”)from January 8, 2016 to the present. All such women inmates were denied access
 5
      necessary and appropriate medical care and all such women inmates were denied access to food that
 6
      is adequate to maintain health in violation of the Eighth and Fourteenth Amendments to the U.S.
 7
 8    Constitution.

 9               30. The members of the class are so numerous as to render joinder impracticable. In the
10
      year from July 2016 through June 2017 alone, over 9,700 women are incarcerated at SRJ.
11
                 31. In addition, joinder is impracticable because, upon information and belief, many
12
13    members of the class are not aware of the fact that their constitutional rights were violated and that

14    they have the right to seek redress in court. Many members of the class are without the means to
15    retain an attorney to represent them in a civil rights lawsuit. There is no appropriate avenue for the
16
      protection of the class members’ constitutional rights other than a class action.
17
                 32. The class members share a number of questions of law and fact in common, including,
18
19    but not limited to:

20    a)       whether the members of the class were denied access to necessary and appropriate
21    medical care;
22
      b)       whether the members of the class were denied access to food that is adequate to
23
      maintain health;
24
25    c)       whether ACSO and CFMG jointly established and implemented policies specifically

26    designed and intended to deny access to necessary and appropriate medical care in order to
27
      increase the profits of CFMG and to reduce ACSO’s costs;
28

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      d)       whether ACSO and ARAMARK jointly established and implemented policies
 1
 2    specifically designed and intended to deny access to food that is adequate to maintain health

 3    in order to increase the profits of ARAMARK and to reduce ACSO’s costs;
 4
      e)       whether ACSO established and implemented policies in violation of the Fourth,
 5
      Eighth and Fourteenth Amendments in order to control the female population of SRJ and
 6
 7    intimidate and prevent that population from filing grievances against unlawful practices at

 8    SRJ;
 9    f)       whether ACSO established and implemented policies in violation of the First and
10
      Eighth and Fourteenth Amendments in order to control the female population of SRJ and
11
      intimidate and prevent that population from filing grievances against unlawful practices at
12
13    SRJ;

14    g)       whether ACSO established and implemented policies in violation of the Fourth,
15    Eighth and Fourteenth Amendments which discriminated against the female population of
16
      SRJ by denying them necessary laundry, means of sanitation and feminine hygiene pads,
17
      fewer opportunities for classes, fewer opportunity to work and get out of their cells; in order
18
19    to reduce ACSO’s costs;

20    h)       whether at all times relevant to this Complaint Defendant CFMG acted under color of
21
      State law;
22
      i)       whether at all times relevant to this Complaint Defendant ARAMARK acted under
23
24    color of State law;

25    j)       whether the members of the class were prevented by fear of retaliation and reprisal by
26    reclassification and/or transfer into solitary confinement, from engaging in the right to file
27
      grievances against unlawful practices at SRJ.
28

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 1
 2               33. The Plaintiffs’ claims are typical of those of the class. Like the other members of the

 3    class, the Plaintiffs were victims of the Defendants’ policy, practice, and/or custom of preventing
 4
      access to appropriate and necessary medical care; laundry and undergarments that meet minimum
 5
      community standards; materials necessary for personal hygiene with regard to their menstrual cycle
 6
 7    and reproductive system; and the right to be free of infliction of frequent and repeated strip and body

 8    cavity searches that are conducted outside prisoners’ cells, for no valid penological reason, and as
 9    retaliation for and as a deterrent to the filing of inmate grievances.
10
                 34. The legal theories under which the Plaintiffs seek relief are the same or similar to
11
      those on which all members of the class will rely, and the harms suffered by the Plaintiffs are typical
12
13    of the harms suffered by the class members.

14               35. The Plaintiffs have a strong personal interest in the outcome of this action, have no
15    conflicts of interests with members of the class, and will fairly and adequately protect the interests of
16
      the class. The Plaintiffs have all been subject to conditions of confinement that violate the First,
17
      Fourth, Eighth and Fourteenth Amendments of the U.S. Constitution.
18
19               36. The Plaintiffs are represented by experienced civil rights and class action counsel.

20    Plaintiffs’ Counsel have the resources, expertise, and experience to prosecute this action. Plaintiffs’
21
      Counsel know of no conflicts among members of the class or between the attorneys and members of
22
      the class.
23
24               37. The Plaintiff class should be certified pursuant to Rules 23(b)(2) and 23(b)(3) of the

25    Federal Rules of Civil Procedure because the Defendants have acted on grounds generally applicable
26    to class members, the interests of the Plaintiffs and potential class members are aligned, and a class
27
      action is superior to other available methods for fairly and efficiently adjudicating the case.
28

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                                                       STATEMENT OF FACTS
 1
 2                                     General Conditions For Women Inmates At SRJ
 3
                38.      SRJ’s treatment of and rules and regulations governing women prisoners are not equal
 4
      to, are more restrictive and far more harsh than, SRJ’s rules and regulations governing male
 5
 6    prisoners.

 7              39.      Holding cells are in area called Intake, Transfer and Release (“ITR”). Any prisoner
 8    coming into or going out of SRJ must go through ITR, including each and every time a prisoner goes
 9
      to court. Male prisoners are always processed through ITR before women prisoners. Because all
10
      prisoners entering or leaving SRJ on a given day arrive at ITR at approximately the same time,
11
12    women prisoners are thus systematically held in holding cells for a far longer time than are male

13    prisoners. Holding cells are concrete boxes, which are almost always very cold and filthy. They are
14
      rarely cleaned and are full of garbage. Because women are processed after the jail is finished
15
      processing the men, women are held for significantly longer periods of time in these awful holding
16
      cells.
17
18              40.      Women have fewer jobs available to them, and the jobs are not as good.

19              41.      Women have fewer educational classes available for them, and the classes are less
20
      relevant to what women are interested in or want to learn.
21
                42.      Women are strip searched more frequently than men, even under the same situation
22
23    and circumstance. For example, women are always strip searched or have body cavity searches

24    when we return to our housing units after a work shift. Men are not.
25              43.      In the medium security Housing Unit 24, women prisoners are housed in groups of 18,
26
      in bunk beds. With this many women, there are always some who are menstruating, and frequently
27
      several. Instead of finding out how many women are menstruating, SRJ Deputies hand out a small
28

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      number of menstrual pads, such 8 or 10, regardless of how many women are menstruating. The
 1
 2    pads are tiny and thin to begin with. As a result, there are routinely insufficient menstrual pads, such

 3    that women bleed through their clothes. Because laundry is only once a week, women are forced to
 4
      endure dirty bloody clothing for long periods of time. And if the laundry is short, as it often is, a
 5
      prisoner can be stuck in disgusting, filthy, blood stained clothes for longer than a week.
 6
 7              44.      While State regulations mandate that women prisoners have clean laundry once a

 8    week, and clean underwear twice a week, women prisoners are never provided with clean
 9    underwear, much less once a week. As to other clothing, SRJ staff frequently tells women prisoners
10
      that they ran have out of women’s clothing. This is especially difficult for women because the rules
11
      require us to wear bras, and they are generally in the wrong sizes and in short supply.
12
13              45.      Underwear is distributed once a week, contrary to regulation, and is not clean when it

14    is distributed. It is normally stained and has pubic hairs stuck to it. Many prisoners hand wash the
15    supposedly clean laundry exchange underwear in the shower in a bucket. When they do so, the
16
      water coming off the laundry exchange underwear is brown. The condition of underwear distributed
17
      by SRJ is a major cause of the transmission of bacteria from vaginal fluids that are not laundered out
18
19    by SRJ. This has resulted in an epidemic of trichomonas vaginalis among women prisoners.

20              46.      Other clothing is also often returned from laundry exchange blood-stained and dirty.
21
      Therefore, most women prisoners try to hand wash clothes to guarantee some level of personal
22
      hygiene. However, SRJ does not provide soap. A prisoner who cannot obtain soap from the
23
24    commissary has no way to clean her clothes.

25              47.      Women inmates at SRJ receive fewer privileges than men and are subject to more
26    restrictions, with no valid penological interest. They have less access to yard time and exercise
27
      opportunities. There is a Big Yard which has grass and open space. Male prisoners regularly have
28

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      access to the Big Yard. Women almost never have access to the Big Yard and are almost always
 1
 2    given access for outside recreation only to a concrete pen that is open to the outside only at the top.

 3    The sides of this pen are concrete walls. There is no grass or open space in the concrete pen.
 4
                48.      Women inmates at SRJ have fewer freedoms than male inmates. For example, during
 5
      meal times, women are prohibited from conversing. If someone speaks, the entire pod is frequently
 6
 7    punished and deprived of privileges. During meal times, we cannot even choose where to sit. The

 8    guards will tell us where to sit. Male prisoners are not subject to the same meal-time restrictions.
 9              49.      Filing a complaint or grievances leads to retaliation and reprisals. Guards will place a
10
      woman prisoner into isolation or solitary confinement as punishment for filing a complaint or
11
      grievances. They will take away privileges including denial of POD time or outside recreation time,
12
13    not just for the individual but for the entire pod. The guards will threaten to search individuals or

14    the group. The guards will turn the bright overhead lights on at night to disturb the women prisoners
15    sleep. The guards have carte blanche to do searches, including strip searches and body cavity
16
      searches. The humiliating and degrading process of undergoing a strip search or a body cavity
17
      search is used to discourage and prevent the filing of complaints and grievances. Guards will
18
19    threaten to impose the degrading and humiliating process of a strip search or body cavity search as

20    punishment
21
                50.      Strip and body cavity searches are frequently conducted outside of a prisoner’s cell, in
22
      a multi-purpose room.
23
24                          Sheriff Ahearn’s Private Contracts for Food & Medical Services

25              51.      Over the past five years, Sheriff Ahearn has overseen an unprecedented increase in the
26    salaries of Sheriff’s office personnel at Santa Rita Jail. Salaries and benefits at SRJ have increased
27
      by $12.44 million dollars since 2013. As a result, being a jail guard at SRJ is one of – if not the
28

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      most – remunerative jobs in the entire country that a high school graduate with no college education
 1
 2    can get. A starting jail guards make approximately $100,000 per year in salary and benefits. This is

 3    not counting overtime payments available.
 4
                52.      That $12.4 million dollar salary increase, and the $1.7 million increase in overtime
 5
      between 2013 and 2018 amounted to almost 50% of the Sherriff’s office SRJ budget increases over
 6
 7    that period.

 8              53.      Over the same period, while remuneration for Sheriff’s office deputies and personnel
 9    at SRJ increased by nearly 18%, the SRJ jail population for whom the Sherriff was responsible,
10
      declined.
11
                54.      According to ACSO, the average daily population at SRJ was 3,431 inmates in June
12
13    2013 and had fallen to 2,825 by June 2015. Upon information and belief, the average daily

14    population is now between 2,200 and 2,500. Thus, the population at SRJ has declined by about 30%
15    at the same time that remuneration for Sheriff’s office deputies and personnel at SRJ increased by
16
      over 18%.
17
                55.      Moreover, during this period, ACSO entered into contracts with private, for-profit
18
19    companies to provide basic and crucial services to SRJ inmates.

20    ACSO’s Contract with CFMG
21
                56.      In this regard, ACSO contracts with Defendant CFMG to provide all health care
22
      services of any type needed by any inmate at SRJ. CFMG’s contract specifies a set price based on
23
24    average daily inmate population (“ADP”).

25              57.      Crucially, the CFMG contract specifies that CFMG itself is solely responsible for all
26    costs incurred in connection with any health care services provided to inmates outside the jail and
27
      that CFMG is not entitled to and will not receive any reimbursement from ACSO for the cost of
28

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      services provided to inmates by hospitals or by any non-CFMG personnel. The cost for all such
 1
 2    services is borne solely by CFMG.

 3              58.      ACSO’s contract with CFMG explicitly states that CFMG will pay for any and all
 4
      “inpatient hospitalization costs, emergency room visits, ambulance transportation expenses,
 5
      outpatient surgeries, outpatient physician consultations, outside specialist fees, off-site diagnostic
 6
 7    procedures.” If an inmate receives such medical services, CFMG must pay the total cost of the

 8    medical care provided, “regardless of the level of cost incurred.”
 9              59.      The contract specifies that CFMG alone will determine “the necessity and
10
      appropriateness of inpatient hospital care and other outside medical services.”
11
                60.      Incredibly, the contract also specifies that in the event a third-party payor such as an
12
13    insurer pays for part or all of any medical service provided to an inmate outside the walls of SRJ,

14    CFMG must turn over half of that third-party payment to the Sheriff’s office. In other words, even
15    if CFMG is reimbursed for its costs for outside medical care provided to inmates, the Sheriff’s office
16
      takes half of the reimbursement even though it paid nothing for the outside medical care.
17
                61.      By requiring CFMG to pay for any and all medical care provided outside of SRJ to
18
19    any SRJ inmate, and by limiting CFMG’s ability to recover any amount CFMG pays for such care,

20    ACSO’s contract with CFMG creates a financial incentive and imperative for CFMG to refuse and
21
      withhold needed and appropriate outside medical services to all inmates, including pregnant
22
      inmates, when the needed and appropriate medical services consist of “inpatient hospitalization costs
23
24    . . . outpatient physician consultations, outside specialist[s, or] off-site diagnostic procedures,”

25    among other services.
26              62.      By specifying that CFMG alone will determine “the necessity and appropriateness of
27
      inpatient hospital care and other outside medical services,” ACSO’s contract with CFMG enables
28

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      CFMG to refuse and withhold needed and appropriate outside medical services to SRJ inmates,
 1
 2    including pregnant inmates, when the needed and appropriate medical services consist of “inpatient

 3    hospitalization costs . . . outpatient physician consultations, outside specialist[s, or] off-site
 4
      diagnostic procedures,” among other services.
 5
                63.      “[O]utpatient physician consultations, outside specialist[s and] off-site diagnostic
 6
 7    procedures” within the meaning of the CFMG contract include any outside or off-site OBGYN

 8    services, including prenatal care, provided to pregnant SRJ inmates.
 9              64.      “[I]npatient hospitalization costs” within the meaning of the CFMG contract includes
10
      hospitalization of an SRJ inmate to deliver a baby or for other prenatal care.
11
                65.      The medical provider in the San Francisco County jail is not a for-profit correctional
12
13    healthcare company such as CFMG. It is the County Department of Public Health, which has no

14    financial incentive to deny care.
15              66.      The medical provider in the Contra Costa County jail is not a for-profit correctional
16
      healthcare company such as CFMG. It is the County Department of Public Health, which has no
17
      financial incentive to deny care.
18
19              67.      The price provisions of the CFMG contract which create a financial incentive to deny

20    care have had a devastating impact on the provision of medical services to inmates at SRJ, including
21
      pregnant inmates. That impact is detailed below at Paragraphs 89 to 118.
22
      ACSO’s Contract with ARAMARK
23
24              68.      ACSO contracts with ARAMARK to prepare food for inmates at SRJ and to prepare

25    food which is used to feed inmates at other Alameda County jails including Glen Dyer Jail, as well
26    as adult facilities in Colusa, Solano, San Benito, San Joaquin, Amador and Lake counties, and a
27
28

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      juvenile facility in San Joaquin County. ARAMARK prepares 20,000 meals a day, with the labor of
 1
 2    150 inmate workers who are not paid but receive food treats.

 3              69.      Through its contract with ARAMARK, ACSO instituted a 25% cut in the inmate food
 4
      budget at SRJ.
 5
                70.      ARAMARK implemented the reduction in the inmate food budget at SRJ in the
 6
 7    amount of $1.65 million.

 8              71.      The cost reductions which ACSO instituted in the ARAMARK contract and
 9    implemented by ARAMARK have had a devastating impact on the quantity and quality of food
10
      provided to inmates at SRJ. That impact is detailed below at Paragraphs 71 to 88.
11
      Food Shortages and Dangerous Food Conditions at SRJ
12
13              72.      The kitchen at SRJ is staffed by inmate workers under the supervision of Defendant

14    ARAMARK. By 2016, inmates were no longer even consistently tested for communicable diseases
15    before being permitted to work in the kitchen.
16
                73.      Santa Rita’s kitchen prepares food not just for prisoners in the jail, but also for other
17
      jails under the jurisdiction of ACSO.
18
19              74.      According to an inmate kitchen worker at SRJ, the kitchen at SRJ is filthy.1 At least

20    seven birds live in the kitchen and bird droppings fall all over counter surfaces, including food
21
      preparation surfaces. Rats run across the kitchen floor and there are frequently rat droppings in the
22
      food. When this is brought to the attention of a paid ARAMARK supervisor, paid supervisors brush
23
24    the rat droppings off the food and instruct inmate kitchen workers to continue working.

25
26
27      1
            The inmate kitchen worker who has provided the information contained in paragraphs __ - __
28          fears reprisals at the hands of SRJ Deputies. She is happy to provide her full identity to the Court
            in camera, or under Seal.
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                75.      Food in the kitchen is kept such that rats access it. Bread is kept in plastic bags in
 1
 2    open plastic crates. Rats climb over the bread and chew open packages. When bread bags are

 3    chewed by rats, a few pieces are thrown away but the rest of the bread is served to prisoners.
 4
                76.      Sandwich meat, primarily bologna, often is spoiled, with raised white spots of
 5
      unknown origin and type on it. That spoiled meat is given to prisoners to eat.
 6
 7              77.      Cooked beans are not properly stored, and not labeled, so that old, leftover beans are

 8    frequently reheated and served, or combined with newer cooked beans. As a result, the beans
 9    decompose, and frequently become slimy and start to bubble as part of its bacterial decomposition.
10
      These decomposing spoilt beans are regularly served to prisoners.
11
                78.      There is no soap in the kitchen bathroom, and no paper towels. In every commercial
12
13    kitchen, there is a sign saying it is the law that kitchen staff must wash their hands after using the

14    bathroom. Clean hands require soap and water. Inmate kitchen workers have no way to clean their
15    hands and their hands are not clean after they use the bathroom. The kitchen bathroom is also very
16
      dirty.
17
                79.      Commercial kitchens normally have a daily clean-up crew which comes in and cleans
18
19    all ovens, stoves, venthoods, floors, and other surfaces and equipment in the kitchen. Commercial

20    clean-up crews normally come in the early morning, before a commercial kitchen opens. Inmate
21
      kitchen workers have never seen a clean-up crew at the SRJ kitchen. It is clear, simply by looking at
22
      the SRJ kitchen, that it is never cleaned.
23
24              80.      The walk-in refrigerators in the SRJ kitchen are disorganized and filthy. There is no

25    cleaning schedule for the refrigerators, which are seldom if ever cleaned. Water collects on the
26    floor, indicating condensation due to frequent temperature variations above acceptable food safety
27
      levels.
28

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                81.      Ingredients are not marked or dated when they are received into the kitchen so there is
 1
 2    no way to track use-by dates of the inventory. As a result, kitchen workers are unable to tell which

 3    ingredients should be used first or to follow standard first-in, first-out inventory control to prevent
 4
      spoilage. As an inevitable result, ingredients frequently spoil. Sandwich meats are frequently
 5
      become green or purple. Beans become slimy and bubble. Meals prepared from these spoiled
 6
 7    ingredients are given to inmates to eat.

 8              82.      Meals are the same day in and day out. Even pregnant women do not receive
 9    sufficient amounts or types of food. Day after day, week after week, month after month, prisoners
10
      are given:
11
      Breakfast: oatmeal or Cream of Wheat with bread and canned fruit;
12
13    Lunch: Primarily Peanut butter sandwich or 1-2x a week, hard boiled eggs; once every two weeks or

14    so some bologna, milk and 4 to 5 carrot nubs; a piece of fruit once or twice a week at most;
15    Snack: (for pregnant women only) Peanut butter sandwich, milk;
16
      Dinner: Protein patty, potatoes, cooked carrots.
17
                83.      On a daily basis, breakfast is served between 3:30 and 4:00 a.m. Pregnant inmates,
18
19    who need rest, are woken at 2:00 a.m. to have vital signs checked, are then forced to get up at 4:00

20    a.m. if they want to have breakfast. Many cannot, because they need to rest. If a pregnant woman
21
      skips breakfast, she must wait until 12:00 noon for lunch. From dinner to lunch is 19 hours, so a
22
      pregnant woman who cannot rise at 4:00 a.m. after having been woken at 2:00 a.m. for a blood
23
24    pressure check must go 19 hours without food.

25              84.      Pregnant women are not provided with adequate amounts or types of food as defined
26    by community standards memorialized in California Regulations governing the feeding of California
27
      inmates. Pregnant women fail to gain weight as is necessary for a healthy pregnancy.
28

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                85.      Podworkers report that there are regularly vermin and vermin feces in the food and
 1
 2    food trays. Plaintiff JOHNSTON reported that while serving meals, she saw both rodent feces in

 3    one person’s food tray and another tray with limbs and a rodent fetus cooked into the beans and
 4
      served. Plaintiff JOHNSTON brought this to the attention of Deputies Farmanian and Pope, who
 5
      were on duty. One of Deputies Farmanian or Pope took a picture of the tray, treating it like it was a
 6
 7    joke. The tray was then served to an inmate with instructions to “eat around it.” Another time,

 8    when a prisoner showed one of the deputies evidence that a rodent had eaten part of her lunch, one
 9    of the deputies, Farmanian or Divine said, “Mice gotta eat too”.
10
                86.      Food shortages lead to frequent fights among the inmates for the little food that is
11
      available. For example, on March 20, 2018, a pregnant pre-trial detainee was given one extra
12
13    serving of milk. Another inmate demanded that she turn over her extra milk. A physical fight then

14    ensued over that extra milk between the second inmate and a third inmate. A second fight over milk
15    also occurred during the same week.
16
                87.      Plaintiff JOHNSTON was pregnant when she was arrested in early March, 2018 and
17
      booked into SRJ. CFMG staff at SRJ confirmed her pregnancy upon her entry into SRJ. Plaintiff
18
19    JOHNSTON was not provided the extra food that is required for pregnant women. Plaintiff

20    JOHNSTON complained to the guards on Housing Unit 24 several times that she has not been given
21
      the required extra food and requested that she be given the food. Despite her requests, SRJ staff did
22
      not provide Plaintiff JOHNSTON with the extra food required to be given to pregnant inmates.
23
24    Plaintiff JOHNSTON frequently falls asleep hungry.

25              88.      On March 10, 2018, despite the presence of extra trays at dinner, Defendant Deputy
26    CAIN did not allow Plaintiff JOHNSTON to have any extra food. On March 11, 2018, while lined
27
      up for breakfast, Plaintiff JOHNSTON fainted from hunger.
28

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                89.      On March 21, 2018, Plaintiff JOHNSTON asked for an extra tray of food because she
 1
 2    was still hungry and there were extra trays visible. The deputy on duty denied her request and

 3    withheld the food as punishment citing as a reason that “you guys are being too loud.” Plaintiff
 4
      JOHNSTON is a pre-trial detainee.
 5
                90.      On March 27, 2018, Plaintiff JACKSON, an inmate approximately 27 weeks pregnant
 6
 7    at the time, was given food on a cardboard tray that was soggy and foul smelling because it was

 8    splattered underneath with food debris. Plaintiff JACKSON asked the Deputy on duty, “would you
 9    eat this if the tray is soggy and smells bad?” The Deputy said she would get Plaintiff JACKSON
10
      another tray, but did not. On April 11, 2018 Plaintiff JACKSON was given spoiled milk to drink.
11
      Medical Care Is Grossly Inadequate At Santa Rita Jail
12
13              91.      As a result of the cost provisions of ACSO’s contract with CFMG, medical care

14    provided to SRJ inmates at SRJ is grossly inadequate. In addition, SRJ inmates are regularly denied
15    necessary and appropriate outside medical care by CFMG because the provision of such care comes
16
      directly out of SFMG’s bottom line profits. The following example of grossly inadequate and
17
      entirely withheld medical care are given by way of illustration only and not by way of limitation.
18
19    General Medical Care

20              92.      After experiencing chest pains while an inmate at SRJ, Plaintiff JOHNSTON was
21
      determined to have an abnormal heart rate and an abnormal heart valve in early March, 2018, by
22
      doctors at Highland Hospital who used an EKG and who said they would need to follow up with
23
24    further testing. Rather than returning Plaintiff JOHNSTON to Highland Hospital for the indicated

25    testing, on March 11, 2018, CFMG staff at SRJ attempted conducted an EKG at SRJ. Multiple
26    attempts to conduct the EKG at SRJ were unsuccessful because the EKG equipment was not
27
      functioning properly. Plaintiff JOHNSTON was not transported back to Highland Hospital. Since
28

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      her initial diagnosis, Plaintiff JOHNSTON has not been transported back to the Hospital, has been
 1
 2    given no further treatment, no final diagnosis, and no medication, and she has not seen a doctor.

 3              93.      The Infirmary room where medical tests are conducted is filthy. Inmates have
 4
      reported that when being tested, they have experienced, “shit or cum on the seats like no one
 5
      bothered to clean it.”
 6
 7              94.      Plaintiff GARRIDO was an inmate podworker. While waxing the floors one day, she

 8    slipped and fell badly, hitting her head. Within twenty minutes, she started to have a severe
 9    headache, and the next morning could not get out of bed. Plaintiff GARRIDO filed a request for
10
      medical examination. Plaintiff GARRIDO received no medical examination or other care from
11
      CFMG. CFMG only provided her with ibuprofen.
12
13              95.      Savanah O’Neill is a Certified Addiction Treatment Counselor and Associate Clinical

14    Social Worker who served as the Opioid Treatment Program Coordinator at SRJ from February,
15    2017 through December 6, 2017 as an employee of CFMG. She resigned her position with CFMG
16
      due to the “unethical medical treatment of pregnant inmates that falls below the accepted standard of
17
      care” at SRJ.
18
19              96.      Standard treatment protocols mandate that pregnant women prisoners with opioid

20    dependence of any type are to be initiated into methadone treatment or maintained in their current
21
      treatment during their incarceration.
22
                97.      Despite this, beginning in or about October, 2017, CFMG implemented its own, non-
23
24    standard, practice. Under its non-standard practice, CFMG puts all opioid dependent inmates into

25    detox, regardless of the prisoner’s physical condition or opioid use history. Although CFMG
26    maintains written protocols which call for it to initiate treatment for pregnant women using opioids,
27
      Ms. O’Neill witnessed at least two pregnant women who were placed into a fast and severe detox
28

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      regimen. One of these pregnant inmates was given one 5 mg dose of methadone and told she would
 1
 2    receive no further medication; the other was given 10 mg. Federal regulations, specifically 42 CFR

 3    Part 8 call for an initial dose of 40 mg on the first day of treatment, after which the dosage is
 4
      increased every other day until cravings cease.
 5
                98.      The American College of Obstetricians and Gynecologists have issued an opinion that
 6
 7    pregnant women should be maintained on methadone during their pregnancy and not placed in

 8    withdrawal. CFMG and SRJ’s treatment of pregnant prisoners with opioid dependence is contrary
 9    to the standards issued by the American College of Obstetricians and Gynecologists.
10
                99.      CFMG and SRJ’s practice is also contrary to the practice at the San Francisco County
11
      Jail and the Contra Costa County Jail, both of which comply with the accepted standard practice that
12
13    all pregnant prisoners with opioid dependence be maintained on methadone during the term of their

14    incarceration. CFMG and SRJ do not comply.
15    Pregnancy-Related Medical Care
16
                100. Plaintiff JOHNSTON entered SRJ while pregnant. Prior to her incarceration at SRJ,
17
      Plaintiff JOHNSTON was provided with a pregnancy treatment plan by the Native American Health
18
19    Clinic. The plan called for a standard test, called a nuchal translucency scan or NT scan, at 10-12

20    weeks pregnancy to gauge various developmental indicators, including development of the spinal
21
      cord, as well as other developmental milestones. Plaintiff JOHNSTON has several times requested
22
      this test at SRJ. CFMG staff initially told her only that “we will talk about it more.” On March 17,
23
24    2018 CFMG staff at SRJ denied her requests for the standard NT developmental scan.

25              101. Plaintiff JOHNSTON has been diagnosed with gestational diabetes.                 She was
26    scheduled to be taken to Highland Hospital on Friday, March 16, 2018 for testing. The test was
27
      administered instead by CFMG at SRJ. CFMG staff administered the test incorrectly. Blood sugar
28

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      readings are supposed to be taken twice, once before being given a drink and again afterwards. The
 1
 2    test was administered only after the drink was given.

 3              102. Plaintiff IBE gave birth while she was a pre-trial detainee at SRJ. At about the 37th
 4
      week of pregnancy, she was moved to O.P.H.U. (Out-Patient Housing Unit), where she was
 5
      frequently not given the diet mandated for pregnant women. Despite her requests, SRJ did not
 6
 7    provide her with proper meals on these occasions.

 8              103. While Plaintiff IBE was being transported to Highland Hospital, a male deputy
 9    attempted to restrain her in the ambulance with a waist chain while she was in active labor. Plaintiff
10
      IBE gave birth on November 9, 2017. After the birth, Deputy Thomas said they needed to chain her
11
      to the bed, despite the facts that she had a high fever and complications, including a rip in her vagina
12
13    that needed to be stitched up. Plaintiff IBE was not permitted to hold or even touch her baby.

14              104. On November 10, 2017, two deputies grabbed Plaintiff IBE’s legs and chained her to
15    the bed with leg irons. Although the tear in her vagina had just been stitched, they chained her to the
16
      bed in a spread-eagle position, leaving her uncomfortable and in pain with two male guards in her
17
      room.
18
19              105. Also on November 10, 2017, a Highland Hospital pediatrician told Plaintiff IBE that

20    the “County Sherriff made a rule” that “you cannot bond, hold, touch or see your baby.” Plaintiff
21
      IBE was not allowed any contact with her baby.
22
                106. Plaintiff ROHRBACH was incarcerated at SRJ in 2017. While at SRJ, Plaintiff
23
24    ROHRBACH observed an inmate named Candace, who looked very pregnant, complaining of not

25    feeling well. From her appearance, it was obvious to all of the female inmates on the Housing Unit
26    that Candace was in her ninth month of pregnancy. Candace was in so much pain that she could not
27
      walk but had to crawl on her hands and knees. A CFMG nurse came to the Housing Unit and
28

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      examined Candace. The CFMG nurse announced that Candace was not dilated, that Candace was
 1
 2    only eight months pregnant, that Candace only had a stomachache, and that Candace was

 3    complaining and exaggerating her distress.
 4
                107. The Deputies on duty, based on the CFMG nurse’s statement that Candace was
 5
      complaining and exaggerating her distress, placed Candace in an isolation cell as punishment.
 6
 7              108. In the isolation cell, Candace was screaming and yelling in pain. The Deputies closed

 8    the slider-window on the door to the cell to muffle the sound of her screaming. Candace screamed
 9    in pain for hour after hour, past a shift change of the guards, and still no one did anything to help
10
      her.
11
                109. Finally, the screaming stopped and the other inmates heard the sound of a crying baby:
12
13    Candace had given birth, alone, in pain, in an isolation cell at SRJ. Only then did the Deputies open

14    the door to her cell.
15              110. Candace’s baby was born with the umbilical cord wrapped around its neck. Out of
16
      pure instinct, Candace put her fingers into the baby’s mouth to open its airways so that the baby
17
      could start breathing.
18
19              111. An SRJ inmate named Jenna had a history of seizures. Before her entry into SRJ, she

20    was on a prescription of 500 mg. per day of Dilantin, an anti-seizure and anti-convulsion
21
      medication. When she arrived at SRJ, CFMG reduced her medication to 100 mg/a day of Dilantin.
22
      As a result, Jenna had frequent severe seizures at SRJ. CFMG did not increase her dosage.
23
24              112. Plaintiff ELLIS was approximately 20 weeks pregnant at SRJ when she began

25    bleeding and spotting. CFMG placed her into the Infirmary, which consists of several small rooms,
26    essentially cages, where she was totally alone. She received no care other than periodic blood
27
      pressure readings.
28

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                113. Until Plaintiff ELLIS was past four months pregnant, CFMG staff continually gave
 1
 2    her pamphlets about abortion and told her that “abortion is available,” despite her repeated

 3    statements that she wanted to carry the child to term. Similarly, Plaintiff ELLIS heard CFMG staff
 4
      repeatedly say that Plaintiff MOHRBACHER “needs to have an abortion.” SRJ guards have
 5
      physically shaken and assaulted Plaintiff ELLIS, presumably in an attempt to induce a miscarriage.
 6
 7              114. Plaintiff MOHRBACHER was pregnant when she entered SRJ. Plaintiff

 8    MOHRBACHER has never been told of any of any “care plan” developed by CFMG for her
 9    pregnancy. Like all pregnant inmates at SRJ, Plaintiff MOHRBACHER was not allowed the three
10
      hours of outdoor recreation per week mandated for pregnant inmates. Other than for a single week
11
      when all female inmates were allowed regular outdoor time, Plaintiff MOHRBACHER was
12
13    permitted only two pregnancy weeks walks while incarcerated at SRJ.

14              115. Plaintiff MOHRBACHER was seen by CFMG staff in connection with her pregnancy.
15    The CFMG staff had from the beginning of her pregnancy urged her to have abortion. Plaintiff
16
      MOHRBACHER informed CGMG that she did not want an abortion and that she wanted to have the
17
      baby, the CFMG staff. Following this, CFMG staff told Plaintiff MOHRBACHER that her baby
18
19    was dead and that she should have an abortion. Plaintiff MOHRBACHER knew that the baby was

20    not dead and refused consent to an abortion. CFMG nonetheless scheduled Plaintiff
21
      MOHRBACHER for an abortion. When Plaintiff MOHRBACHER refused to go, CFMG had two
22
      male Deputies go to her Housing Unit and try to forcibly take her to have an abortion. She resisted
23
24    and refused, and when she again refused to agree to an abortion, the Deputies yelled at her and

25    claimed she was on drugs. Defendants Farmanian and Pope have told Plaintiff MOHRBACHER
26    that she “needed to get” an abortion. Defendant Pope told her that she must “obviously be on drugs,
27
      which is why you refuse” to abort the baby.
28

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                116. Finally, one day in December, 2017, Deputies entered the Housing Unit at 6:00 a.m.
 1
 2    and demanded that all inmates stand so that the Deputies could conduct a search. Plaintiff

 3    MOHRBACHER was placed into solitary confinement, handcuffed, for an extremely long period of
 4
      time. After a significant amount of time, defendant DIVINE returned, moved Plaintiff
 5
      MOHRBACHER to another room and conducted yet another strip search. Plaintiff
 6
 7    MOHRBACHER was bleeding vaginally due to the stress and harassment. Although Plaintiff

 8    MOHRBACHER was not once found to be in possession of drugs at SRJ, Deputy DIVINE stated
 9    that she was bleeding because she was “doing meth.” During or shortly following this search, which
10
      was the third in less than a week, Plaintiff MOHRBACHER’s continued bleeding and suffered a
11
      miscarriage. CFMG never provided medical attention to Plaintiff MOHRBACHER in connection
12
13    with her miscarriage.

14              117. Plaintiff ZEPEDA was arrested and booked into SRJ on Sunday, August 13, 2017, at
15    which time she was pregnant. On that day, CFMG staff at SRJ administered a pregnancy test and
16
      confirmed the pregnancy. Plaintiff ZEPEDA informed CFMG staff that she was not feeling well.
17
      Nonetheless, she was placed in a filthy holding cell with walls covered in human secretions,
18
19    decaying food on the floor, and human waste in the cell and in the toilet. Because the toilet had

20    human waste floating in it and no toilet paper, she could not use it and ended up urinating on her
21
      clothes.
22
                118. On the same day, although she continued to not feel well, Plaintiff ZEPEDA received
23
24    no medical care. Eventually, CFMG personnel spoke with her, but instead of trying to provide

25    medical care, the CFMG staff only told Plaintiff ZEPEDA that she could have an abortion anytime.
26    The guards also encouraged her to have an abortion. When Plaintiff ZEPEDA requested medical
27
      attention, such care was refused and she was instead treated as a pest. Plaintiff ZEPEDA felt that
28

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      the guards were trying to coerce her into aborting her fetus or, failing that, into suffering a
 1
 2    miscarriage.

 3              119. By Thursday, August 17, 2017, four days after entering SRJ, Plaintiff ZEPEDA was
 4
      bleeding very badly and did suffer a miscarriage. Grieving and distraught, she received no
 5
      counseling or support of any kind.
 6
 7              120. Other inmates, including Paramdeep Kaur, have also suffered miscarriages due to the

 8    filthy conditions, abuse by staff, and inadequate and dangerous food at SRJ, and due to the policy,
 9    custom and practice of ACSO and CFMG to deny needed and appropriate medical care to pregnant
10
      women at SRJ.
11
                121. Adanna Ibe was pregnant and delivered her son at Highland Hospital. During the
12
13    delivery, she experienced a vagina tear which required stitches. After the birth, but before she

14    received stitches, male sheriff’s deputies, insisted that she had to be chained by the leg, to her
15    hospital bed, even before she received any medical treatment. This caused her severe pain and
16
      discomfort.
17
                122. After she received stitches, the deputies insisted that she had to be chained, spread
18
19    eagle to the hospital bed, and forcibly chained Andanna. She was allowed to see her baby, but not

20    allowed to hold him. She was told that the Sheriff and the County had policies forbidding her from
21
      holding or even touching her baby. This caused her great emotional distress and she beame
22
      exceedingly distressed and distraught.
23
24                                               Applicable Community Standards

25              123. SRJ’s treatment of women prisoners falls far short of acceptable conditions under the
26    United States Constitution. The Eighth Amendment to the U.S. Constitution requires that
27
      correctional facilities “must ensure that inmates receive adequate food, clothing, shelter, and medical
28

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      care.” Foster v. Runnels, 554 F.3d 807, 812 (9th Cir. 2009) quoting Farmer v. Brennan, 511 U.S.
 1
 2    825, 832 (1994)

 3              124. California Regulations provide a ready benchmark for what constitutes “adequate
 4
      food, clothing, . . . and medical care.”
 5
                125. California Code of Regulations (hereinafter “CCR”) § 1210(b) specifies that “[f]or
 6
 7    each inmate treated for health conditions for which additional treatment, special accommodations

 8    and/or a schedule of follow-up care is/are needed during the period of incarceration, responsible
 9    health care staff shall develop a written treatment plan.”
10
                126. CCR § 1248 specifies that, “The medical diets utilized by a facility shall be planned,
11
      prepared and served with consultation from a registered dietitian. The facility manager shall comply
12
13    with any medical diet prescribed for an inmate.

14              127.      CCR § 1248 further specifies that, “[t]he facility manager and responsible physician
15    shall ensure that the medical diet manual, which includes sample menus of medical diets, shall be
16
      available in both the medical unit and the food service office for reference and information. A
17
      registered dietitian shall review, and the responsible physician shall approve, the diet manual on an
18
19    annual basis.

20              128. CCR § 1248 further specifies that, “[p]regnant women shall be provided a balanced,
21
      nutritious diet approved by a doctor.”
22
                129. CCR § 1240 specifies that, “[p]rovisions shall be made for inmates who may miss a
23
24    regularly scheduled facility meal. They shall be provided with a substitute meal and beverage, and

25    inmates on medical diets shall be provided with their prescribed meal.”
26              130. CCR § 1242 specifies that “Menus shall be planned to provide a variety of foods, thus
27
      preventing repetitive meals.”
28

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                131. CCR § 1241 specifies that “A wide variety of food should be served.”
 1
 2              132. CCR § 1241(b) specifies that “For . . . pregnant and lactating women, the requirement

 3    is four servings of milk or milk products” of 8 ozs. of liquid milk per day.
 4
                133. CCR § 1241(c) specifies that “The daily requirement of fruits and vegetables shall be
 5
      five servings. At least one serving shall be from each of the following three categories:
 6
 7              134.      CCR § 1241(c)(1) specifies that “One serving of a fresh fruit or vegetable per day, or

 8    seven (7) servings per week.”
 9              135. CCR § 1241(c)(2) specifies that “One serving of a Vitamin C source containing 30
10
      mg. or more per day or seven (7) servings per week.”
11
                136.      CCR § 1241(c)(3) specifies that “One serving of a Vitamin A source, fruit or
12
13    vegetable, containing 200 micrograms Retional Equivalents (RE) or more per day, or seven servings

14    per week.”
15              137. CCR § 1241 further specifies that “Providing only the minimum servings outlined in
16
      this regulation is not sufficient to meet the inmates’ caloric requirements. Additional servings from
17
      the dairy, vegetable-fruit, and bread-cereal groups must be provided in amounts to meet caloric
18
19    requirements.”

20              138. Further, CCR § 3050(a)(3) specifies that: “Pregnant inmates shall receive two extra
21
      eight ounce cartons of milk or a calcium supplement if lactose intolerant, two extra servings of fresh
22
      fruit, and two extra servings of fresh vegetables daily.”
23
24              139. CCR § 1230 specifies that, “[t]he responsible physician, in cooperation with the food

25    services manager and the facility administrator, shall develop written procedures for medical
26    screening of inmate food service workers prior to working in the facility kitchen”
27
28

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                140. In addition, CCR § 1243 specifies that, “Facilities shall have a written food service
 1
 2    plan that shall comply with the applicable California Retail Food Code.”

 3              141. Among other things, the California Retail Food Code § 113980 requires that “All
 4
      food shall be manufactured, produced, prepared . . . stored . . . and served so as to be pure and free
 5
      from . . . spoilage; . . . shall be protected from dirt, vermin, . . . droplet contamination, overhead
 6
 7    leakage, or other environmental sources of contamination; shall otherwise be fully fit for human

 8    consumption.”
 9              142. As alleged above in Paragraphs 89-118, ACSO and ARAMARK comply with none of
10
      the standards cited above which clearly define what constitutes the provision of adequate foods to
11
      inmates.
12
13              143. CCR § 1260 specifies that, “The standard issue of climatically suitable clothing to

14    inmates held after arraignment . . . shall include (c) clean undergarments . . . (2) for females - bra
15    and two pairs of panties.” Further, CCR § 1262 specifies that, “Undergarments and socks shall be
16
      exchanged twice each week.”
17
                144. CCR § 1248 also provides that “The inmates’ personal undergarments and footwear
18
19    may be substituted for the institutional undergarments and footwear specified in this regulation. This

20    option notwithstanding, the facility has the primary responsibility to provide the personal
21
      undergarments and footwear.”
22
                145. CCR § 1263 specifies that “Written policy and procedures shall specify handling of
23
24    laundry that is known or suspected to be contaminated with infectious material.”

25              146. As alleged above in Paragraphs 71-88, ACSO complies with none of the standards
26    cited above which clearly define what constitutes the provision of adequate foods to inmates.
27
28

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                147. CCR § 1265 specifies that “Each female inmate shall be issued sanitary napkins and/or
 1
 2    tampons as needed.” Further, California Penal Code § 3409(a) specifies that “Any incarcerated

 3    person in state prison who menstruates shall, upon request, have access to, and be allowed to use,
 4
      materials necessary for personal hygiene with regard to their menstrual cycle and reproductive
 5
      system.”
 6
 7              148. As alleged above in Paragraphs 41-45, ACSO complies with none of the standards

 8    cited above which clearly define what constitutes the provision of materials necessary for personal
 9    hygiene with regard to inmates’ menstrual cycle and reproductive systems.
10
                149. Under CCR § 3355.2(b), all inmates with a confirmed pregnancy are entitled by
11
      California law to a treatment and care plan regimen.
12
13              150. As alleged above in Paragraphs 89-118, ACSO and CFMG do not comply with

14    standards clearly defined in CCR § 3355.2(b). To the contrary, it is the policy, custom and practice
15    of ACSO, carried out in concert with CFMG, to deny inmates with a confirmed pregnancy with
16
      access to such a treatment and care plan. For example, and not by way of limitation, no plan of care
17
      is determined by an Obstetrical Physician or Obstetrical Nurse Practitioner, diagnostic studies are
18
19    not ordered as needed, and obstetrics examinations are not scheduled in accordance with the

20    schedule mandated by CCR § 3355.2(c).
21
                151. CCR § 3355.2(e) requires that pregnant women who are “receiving methadone
22
      treatment, shall be enrolled in the Methadone Maintenance Program and recommended for
23
24    immediate transfer to the California Institution for Women.”

25              152. As alleged above in Paragraphs 94-97, ACSO and CFMG do not comply with
26    standards clearly defined in CCR § 3355.2(e). To the contrary, it is the policy, custom and practice
27
      of ACSO, carried out in concert with CFMG, to refuse to enroll such pregnant women in the
28

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      Methadone Maintenance Program or to recommend them for immediate transfer to the California
 1
 2    Institution for Women.

 3              153. Women who have opiate addiction issues are denied medical care and thrust into the
 4
      general population housing unit. These women are forced to withdraw cold turkey, and this
 5
      withdrawal frequently involves vomiting or loss of bowel or bladder control. The housing units
 6
 7    consist of 9 sets of bunk beds. Pregnant women and women with disabilities are issued the bottom

 8    bunk. Frequently these women withdrawing from opiates are placed on the top bunk, forcing
 9    pregnant women to be on the receiving end of vomit or other human secretions, and the terrible
10
      smell. Given the short supply of clean linens, and cleaning supplies and equipment, pregnant
11
      women are forced to endure these coditions for hours at a time.
12
13
14                                                  FIRST CLAIM FOR RELIEF
15     DEPRIVATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983 AGAINST ACSO
                  AND THE CALIFORNIA FORENSIC MEDICAL GROUP
16
17               154. Plaintiffs repeat and re-allege each and every allegation contained in the above

18    paragraphs with the same force and effect as if fully set forth herein.
19              155. At all relevant times herein, Defendant CALIFORNIA FORENSIC MEDICAL
20
      GROUP acted under color of State law.
21
                 156. At all relevant times herein, Defendant CFMG established and/or followed policies,
22
23    procedures, customs, and or practices, and those policies were the cause of violation of the

24    Plaintiffs’ and the class members’ constitutional rights granted pursuant to 42 U.S.C. § 1983,
25
      including those under the Eighth and Fourteenth Amendments. All of the aforementioned acts of the
26
      Defendant CFMG, their agents, servants and employees, were carried out jointly with ACSO under
27
28    the color of state law.


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                 157. At all relevant times herein, Defendant ALAMDEA COUNTY SHERIFF’S OFFICE
 1
 2    delegated to Defendant CFMG the traditional public function of determining and controlling the

 3    provision of medical services to women inmates, including pregnant inmates, in such a way as was
 4
      deliberately calculated to deny such inmates access to adequate medical care.           The denial of
 5
      necessary and appropriate medical services was imposed in order to reduce CFMG’s costs under its
 6
 7    contract with ASCO, specifically pursuant to the pricing provisions of that contract which penalized

 8    CFMG for allowing the provision of any outside medical care, regardless of the medical necessity of
 9    such care.
10
                 158. At all relevant times herein, Defendant CFMG acted jointly and intentionally with
11
      Defendant ACSO, pursuant to a customary plan to restrict Plaintiffs and class members from
12
13    obtaining medically necessary and appropriate medical care.

14               159. At all relevant times herein, Defendant CFMG intentionally participated with the
15    Defendant ACSO in a customary plan to restrict Plaintiffs and class members from obtaining
16
      medically necessary and appropriate medical care.
17
                160. At all relevant times herein, an inmate's right to necessary and appropriate medical
18
19    services was clearly established. The contours of the right to necessary and appropriate medical

20    services was made sufficiently clear by, among other things, the California Regulations cited herein.
21
                161. At all relevant times herein, Defendants CFMG and ACSO acted with deliberate
22
      indifference to the violation of Plaintiff's class members' rights. As shown above, CFMG and
23
24    ACSO were aware of the substantial risk of serious harm to an inmate's health and safety created by

25    the denial of necessary and appropriate medical services and CFMG and ACSO deliberately
26    disregarded that risk. At all relevant times, the California Regulations cited herein put CFMG and
27
28

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      ACSO on actual notice that such substantial risk of serious harm is not one that today's society
 1
 2    chooses to tolerate.

 3               162. At all relevant times herein, there existed a pervasive entwinement between Defendant
 4
      CFMG and Defendant ACSO, in that CFMG was at all relevant times delegated by ACSO the
 5
      traditional public function of determining and providing medical care to inmates.
 6
 7               163. The deprivation of Plaintiffs’ and class members’ constitutional rights was caused by

 8    the close nexus between Defendant CFMG and Defendant ACSO that was created by the direct role
 9    of Defendant ACSO in enforcing CFMG’s determination to deny and withhold necessary and
10
      appropriate medical care to SRJ inmates.
11
                 164. The close nexus between Defendants CFMG and ACSO is the legal cause of injuries
12
13    to Plaintiffs and the class as alleged herein and, as a result, Plaintiffs and the class have sustained

14    general and special damages, as well as incurring attorneys’ fees, costs, and expenses, including
15    those as authorized by 42 U.S.C. § 1988, to an extent and in an amount subject to proof at trial.
16
                Wherefore, plaintiffs and the prisoner class they represent request relief as outlined below.
17
                                                  SECOND CLAIM FOR RELIEF
18
19     DEPRIVATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983 AGAINST ACSO
                    AND ARAMARK CORRECTIONAL SERVICES LLC
20
                 165. Plaintiffs repeat and re-allege each and every allegation contained in the above
21
22    paragraphs with the same force and effect as if fully set forth herein.

23              166. At all relevant times herein, Defendant ARAMARK CORRECTIONAL SERVICES
24    LLC acted under color of State law.
25
                 167. At all relevant times herein, Defendant ARAMARK established and/or followed
26
      policies, procedures, customs, and or practices, and those policies were the cause of violation of the
27
28    Plaintiffs’ and the class members’ constitutional rights granted pursuant to 42 U.S.C. § 1983,


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      including those under the Eighth and Fourteenth Amendments. All of the aforementioned acts of the
 1
 2    Defendant ARAMARK, their agents, servants and employees, were carried out under the color of

 3    state law.
 4
                 168. At all relevant times herein, Defendant ALAMDEA COUNTY SHERIFF’S OFFICE
 5
      delegated to Defendant ARAMARK the traditional public function of feeding municipal inmates
 6
 7    and allowed and enabled Defendant ARAMARK to cause constitutionally inadequate food to be

 8    provided to SRJ inmates and to deny SRJ food that is adequate to sustain health. The denial of food
 9    that is adequate to sustain health was imposed in order to reduce ARAMARK’s costs under its
10
      contract with ASCO.
11
                 169. At all relevant times herein, Defendant ARAMARK acted jointly and intentionally
12
13    with Defendant ACSO, pursuant to a customary plan to prevent Plaintiffs and class members from

14    having access to food that is adequate to maintain health.
15               170. At all relevant times herein, Defendant ARAMARK intentionally participated with the
16
      Defendant ACSO in a customary plan to prevent Plaintiffs and class members from having access to
17
      food that is adequate to maintain health.
18
19              171. At all relevant times herein, an inmate's right to food that is adequate to maintain

20    health was clearly established. The contours of the right to food that is adequate to maintain health
21
      was made sufficiently clear by, among other things, the California Regulations cited herein.
22
                172. At all relevant times herein, Defendants ARAMARK and ACSO acted with deliberate
23
24    indifference to the violation of Plaintiff's class members' rights. As shown above, ARAMARK and

25    ACSO were aware of the substantial risk of serious harm to an inmate's health created by the denial
26    of food that is adequate to maintain health and ARAMARK and ACSO deliberately disregarded that
27
      risk. At all relevant times, the California Regulations cited herein put ARAMARK and ACSO on
28

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      actual notice that such substantial risk of serious harm is not one that today's society chooses to
 1
 2    tolerate.

 3                173. At all relevant times herein, there existed a pervasive entwinement between Defendant
 4
      CFMG and Defendant ACSO, in that ARAMARK was at all relevant times delegated by ACSO the
 5
      traditional State function of feeding inmates.
 6
 7                174. The deprivation of Plaintiffs’ and class members’ constitutional rights was caused by

 8    the close nexus between Defendant CFMG and Defendant ACSO that was created by the direct role
 9    of Defendant ACSO in enforcing ARAMARK’s determination to prevent Plaintiffs and class
10
      members from having access to food that is adequate to sustain health.
11
                  175. The close nexus between Defendants ARAMARK and ACSO is the legal cause of
12
13    injuries to Plaintiffs and the class as alleged herein and, as a result, Plaintiffs and the class have

14    sustained general and special damages, as well as incurring attorneys’ fees, costs, and expenses,
15    including those as authorized by 42 U.S.C. § 1988, to an extent and in an amount subject to proof at
16
      trial.
17
          WHEREFORE, Plaintiffs and the Prisoner Class they represent request relief as outlined below.
18
19
20                                                  THIRD CLAIM FOR RELIEF
21
                                       DEPRIVATION OF FEDERAL CIVIL RIGHTS
22
                                           UNDER 42 U.S.C. § 1983 AGAINST ACSO
23
24                176. Plaintiffs repeat and re-allege each and every allegation contained in the above

25    paragraphs with the same force and effect as if fully set forth herein.
26                177. At all relevant times herein, ACSO has been responsible for operating the Santa Rita
27
      Jail.
28

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                 178. At all relevant times herein, Defendant ACSO has established and/or followed
 1
 2    policies, procedures, customs, and or practices, and those policies were the cause of violation of the

 3    Plaintiffs’ and the class members’ constitutional rights granted pursuant to 42 U.S.C. § 1983,
 4
      including those under the First, Fourth, Eighth and Fourteenth Amendments.
 5
                179. At all relevant times herein, ACSO has followed a custom, policy and practice of
 6
 7    imposing greater restrictions and other hardships on women prisoners at SRJ than on male prisoners,

 8    with no valid penological purpose. By way of example only, these greater restrictions and hardships
 9    include, but are not limited to, restrictions on the right to speak at meal times; the right to have
10
      access to laundry and undergarments that meet minimum community standards; the right of access
11
      to materials necessary for personal hygiene with regard to their menstrual cycle and reproductive
12
13    system; and the right to be free of infliction of frequent and repeated strip and body cavity searches

14    that are conducted outside prisoners’ cells, for no valid penological reason, and as retaliation for and
15    as a deterrent to the filing of inmate grievances.
16
                WHEREFORE, Plaintiffs and the Prisoner Class they represent request relief as outlined
17
      below.
18
19                                                     FOURTH CLAIM FOR RELIEF

20                                                       DEPRIVATION OF RIGHTS
21
                      Under Article I, Section 7 of the California Constitution Against All Defendants
22
                 180. Plaintiffs repeat and re-allege each and every allegation contained in the above
23
24    paragraphs with the same force and effect as if fully set forth herein.

25              181.      By their policies and practices described above, Defendants subjected Plaintiffs and
26    the Class they represent, to a substantial risk of harm and injury from inadequate medical care,
27
      insufficient nourishment to maintain life, and abuse treatment and hardships. These policies and
28

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      practices have been, and continue to be, implemented by Defendants and their agents or employees
 1
 2    in their official capacities, and are the proximate cause of Plaintiffs’ and the Class’s ongoing

 3    deprivation of rights secured by the California Constitution, Article I, Section 17.
 4
                182. Defendants have been and are aware of all of the deprivations complained of herein,
 5
      and have condoned or been deliberately indifferent to such conduct.
 6
 7              WHEREFORE, Plaintiffs and the Prisoner Class they represent request relief as

 8    outlined below.
 9                                                 FIFTH CLAIM FOR RELIEF
10
                                                                   Bane Act
11
                              (Cal. Civ. Code § 52.1(b); Cal. Gov. Code §§ 815.2(a) & 820(a))
12
13               183. Plaintiffs repeat and re-allege each and every allegation contained in the above

14    paragraphs with the same force and effect as if fully set forth herein.
15
                184.      Defendants’ DEPUTY DIVINE (#512), DEPUTY DEBRA FARMANIAN, DEPUTY
16    WEATHERBEE (#238), DEPUTY TANIA POPE, DEPUTY WINSTEAD, DEPUTY CAINE and
17    John and Jane Does 1- 50, employed as deputies in Santa Rita Jail, acting or purporting to act in the
18    performance of his or her official duties as a Sheriff’s deputy, engaged in the above-described
19    conduct, including threatening and actually imposing punishments including solitary confinement,

20    deprivation of food and privileges, and searches and shakedowns constituted interference, and
      attempted interference, by threats, intimidation and coercion, with plaintiffs’ peaceable exercise and
21
      enjoyment of rights secured by the Constitution and laws of the United States and the State of
22
      California, in violation of California Civil Code §52.1.
23
                185.      Defendants County of Alameda, Alameda County Sheriff’s Office, Gregory Ahern,
24
      BRETT M. KETELES, TOM MADIGAN, T. POPE, T. RUSSELL, Does 1-50, acting under color
25
      of state law and as policy-making authorities, maintained policies, customs, or practices permitting
26    or deliberately indifferent to, or failed to maintain policies, customs, or practices when it was
27    obvious that they were needed to prevent the conduct of sheriff deputies and guards violations of
28    plaintiffs and class members First, Fourth, Fifth, Eighth and Fourteen Amendment rights protected

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      by the U.S. Constitution and art. I, § 7 of the California Constitution, and were the moving force, by
 1
      threats, intimidation or coercion, behind the jail guards and sheriff’s deputies violation of plaintiff’s
 2
      rights protected by the U.S. Constitution and art. I, § 7 of the California Constitution.
 3
                186. 71. Defendants COUNTY OF ALAMEDA and ALAMEDA COUNTY SHERIFF’S
 4
      OFFICE are indirectly and vicariously liable, through the principles of respondeat superior, for
 5    injuries proximately caused by acts or omissions of their employees acting within the scope of their
 6    employment.
 7              187. As a direct and proximate result of the wrongful conduct by Defendants ALAMEDA
 8    COUNTY SHERIFF’S OFFICE, GREGORY J. AHERN, BRETT M. KETELES, TOM
 9    MADIGAN, T. POPE, T. RUSSELL, D. SKOLDQVIST, LT. HATTAWAY, SGT. CALAGARI,

10    DEPUTY DIVINE (#512), DEPUTY DEBRA FARMANIAN, DEPUTY WEATHERBEE (#238),
      DEPUTY TANIA POPE, DEPUTY WINSTEAD, DEPUTY CAINE, ALAMEDA COUNTY and
11
      John & Jane DOEs, Nos. 1 – 50 actions and inactions, Plaintiffs suffered injuries entitling them to
12
      receive compensatory damages against said defendants, declaratory and injunctive relief against
13
      Defendants Alameda County, Alameda County Sheriff’s Office and Gregory J. Ahern.
14
                WHEREFORE, Plaintiffs and the Prisoner Class they represent request relief as
15
      outlined below.
16
17
18                                                  SIXTH CLAIM FOR RELIEF
19                                                                Negligence
20
                                                 Cal Gov. Code §815.2(a) & 820(a).
21
                188. Plaintiffs re-allege and incorporate by reference paragraphs 1 through 186 of this
22
      Complaint, to the extent relevant, as if fully set forth in this Claim.
23
             189.         Defendants DIVINE (#512), DEBRA FARMANIAN, WEATHERBEE (#238),
24
      DEPUTY TANIA POPE, WINSTEAD, CAINE, T. POPE, acting or purporting to act in the
25    performance of official duties have a duty of care to plaintiffs and class members to ensure that
26    defendants did not cause unnecessary or unjustified harm to plaintiffs, including reasonable conduct
27    and decisions on the use and application of punishment including solitary confinement, and
28    searches, actions which constituted punishment or retaliation for a prisoner’s attempt to grieve or

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      complain about conditions and treatment; or against any female prisoner for vocalizing a need for
 1
      sanitation or feminine hygiene products.
 2
             190.        Defendants ALAMEDA COUNTY SHERIFF’S OFFICE AND ALAMEDA
 3
      COUNTY, GREGORY J. AHERN, BRETT M. KETELES, TOM MADIGAN, T. RUSSELL, D.
 4
      SKOLDQVIST, LT. HATTAWAY, SGT. CALAGARI acting under color of state law and as policy
 5    making authorities, owed plaintiffs a duty of care to hire, train, supervise and discipline Jail
 6    employees so as to not cause harm to plaintiff and class members and to prevent violations of their
 7    constitutional, statutory and common law rights.
 8           191.        Defendants ALAMEDA COUNTY SHERIFFS OFFICE and ALAMEDA COUNTY
 9    are indirectly and vicariously liable, through the principles of respondeat superior, for injuries

10    proximately caused by acts or omissions for their employees acting within the scope of their
      employment.
11
             192.        As a proximately and direct result of Defendants ALAMEDA COUNTY SHERIFFS
12
      OFFICE and ALAMEDA COUNTY, GREGORY AHERN, BRETT M. KETELES, TOM
13
      MADIGAN, T. RUSSELL, D. SKOLDQVIST, LT. HATTAWAY, SGT. CALAGARI DEBRA
14
      FARMANIAN, WEATHERBEE (#238), DEPUTY TANIA POPE, WINSTEAD, CAINE, T. POPE,
15    AND DOE 1-50’S actions and inactions, plaintiffs suffered injuries entitling them to receive
16    compensatory damages against these defendants.
17               WHEREFORE, Plaintiffs and the Prisoner Class they represent request relief as
18
      outlined below.
19
20
21
                                                        PRAYER FOR RELIEF
22
23        WHEREFORE, Plaintiffs respectfully request the Court to:

24             1. Certify the Class of women prisoners at Santa Rita under Rule 23, F.R. Civ P., and also the
25             Subclass of women prisoners who are pregnant, and permit the named plaintiffs and their
26
               counsel to represent the Class and Subclass and to proceed accordingly. In the alternative,
27
               hold certification of the broad class in abeyance pending further development of the grounds
28

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               for it, but recognize the Subclass for all purposes connected with its plea(s) for equitable relief
 1
 2             herein.

 3
               2. Make findings of fact reflecting the general and specific failings and inadequacies of both
 4
               groups of defendants’ approaches to and practice in the care of pregnant prisoners, the pattern
 5
 6             and practice of defendants’ non-feasance and maltreatment of pregnant prisoners, and

 7             defendants’ violations of statutory, regulatory and constitutional requirements in dealing with
 8             pregnant prisoners.
 9
               3. Initiate a serious effort, perhaps with a Rule to Show Cause, to bring about defendants’
10
11             early compliance with the community treatment program law Penal Code §1170., and/or any

12             other feasible and available means and steps to get and keep pregnant women out of the Santa
13
               Rita jail.
14
15             4. In the event a ready process for getting and keeping plaintiffs out of the jail is not readily

16             found, and to the extent and for the time any pregnant women are ordered held in the Sheriff’s
17             custody, enter a preliminary and permanent Injunction which will,
18
19             A. Prohibit defendants from:

20             a. coercion or pressure on pregnant prisoners to consent to a preterm termination of their
21             pregnancy;
22
               b. placing pregnant prisoners in solitary confinement, and/or ordering them to submit to
23
               multiple strip searches and body cavity searches without first utilizing less punitive and
24
25             intrusive means including urine tests and having objectively reasonable grounds to suspect

26             them of hiding contraband;
27             c. placing pregnant prisoners outdoors without adequate outerwear, and clothing;
28

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               d. holding pregnant prisoners outdoors against their will for any length of time, or keeping the
 1
 2             heat down in residential units, and the bright lights on all night;

 3             e. punishing or threatening to punish women prisoners for exercising their right to free speech
 4
               during meals or during ‘pod time’;
 5
               f. touching or searching plaintiff’s food unless defendants’ hands are covered in clean, and
 6
 7             new sanitary gloves;

 8             g. coerce or pressure or attempt to persuade pregnant prisoners to agree to abortions;
 9             h. intervening or interfering with attorney client communications
10
               And,
11
               B. Affirmatively Order and direct defendants to:
12
13             a. Fully comply with all applicable state statutes and regulations, and develop a legitimate

14             individual treatment plan for each pregnant prisoner, and carry it out completely!
15             b. Fully comply with all applicable state statutes and regulations for a sufficient, balanced,
16
               nutritious diet approved by a doctor;
17
               c. Fully comply with state law on provision of appropriate and sufficient materials for each
18
19             woman prisoner “necessary for (1) personal hygiene with regard to her menstrual cycle and

20             reproductive system” (Penal Code §3409) during the entire duration of her incarceration
21
               under the custody of defendants;
22
               d. No less than the minimum outdoor exercise prescribed by state regulations;
23
24             e. Permit confidential legal contact visits between plaintiffs, class members and their

25             attorneys;
26             5. Enter a preliminary and permanent injunction on behalf of the broad Class of women
27
               prisoners which will counter and remedy the County defendants’ broader unconstitutional
28

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               practice(s) of discrimination against women in general, compared to men, as complained of
 1
 2             and to be shown further;

 3             6. Award compensatory and punitive damages to individual plaintiffs against defendants in
 4
               amounts to be determined at trial;
 5
               7. Award costs and fees for this action, including attorneys’ fees;
 6
 7             8. Grant such other and further relief as this Court deems appropriate.

 8
 9                                                          JURY TRIAL DEMAND
10
               A JURY TRIAL IS DEMANDED on behalf of Plaintiffs.
11
12   DATED:              May 4, 2018                               LAW OFFICE OF YOLANDA HUANG

13
14                                                                 __/s/ Yolanda Huang________________

15                                                                 Yolanda Huang

16
17
18                                                                 DENNIS CUNNINGHAM

19
20                                                                 _/s/ Dennis Cunningham______________

21                                                                 Dennis Cunningham

22
23
24                                                                 Counsel for Plaintiffs

25
26
27
28

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